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     NECICF II GP, LLC
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11                                UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA
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14   LACUNA SUSTAINABLE INVESTMENTS, LLC;            Case No. 3:24-cv-7705
     LACUNA SUSTAINABLE PARTNERS, LLC;
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     LACUNA PROJECT INVESTMENTS, LLC;                DEFENDANTS VICTORY CAPITAL
16   LACUNA PROJECT INVESTMENTS II, LLC.             MANAGEMENT INC. AND NECICF II
                                                     GP, LLC’S ADMINISTRATIVE
17                  Plaintiffs,                      MOTION FOR RELIEF FOR PRO HAC
                                                     VICE COUNSEL SAMEER NITANAND
18       vs.                                         ADVANI TO APPEAR REMOTELY BY
                                                     ZOOM AT HEARING ON PLAINTIFFS’
19
     PATRICK FOX; BENNETT COLLIER; VICTORY           MOTION FOR PRELIMINARY
20   CAPITAL MANAGEMENT, INC.; CURT                  INJUNCTION ON MARCH 20, 2025
     WHITTAKER; RATH, YOUNG, AND
21   PIGNATELLI, P.C.; NECICF II GP, LLC; MARK       Date:    March 20, 2025
     LERDAL; and DOES 1-10, inclusive,               Time:    2:00 PM
22                                                   Ctrm:    10, 19th Floor - San Francisco
23                  Defendants.                      Judge:   Hon. Araceli Martínez Olguín

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       VICTORY CAPITAL MANAGEMENT INC. AND NECICF II GP, LLC’S ADMIN. MOTION FOR RELIEF TO
          APPEAR REMOTELY BY ZOOM AT HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                     Case No. 3:24-cv-7705
       Case 3:24-cv-07705-AMO           Document 68       Filed 03/13/25     Page 2 of 2




 1          Pursuant to the Pursuant to Civil Local Rules 7-11 and 7-12 and the Court’s Standing Order,

 2   Counsel for Defendants Victory Capital Management Inc. (“Victory”) and NECICF II GP, LLC

 3   (together, “Moving Defendants”) respectfully request permission to appear remotely by Zoom at

 4   the scheduled hearing on Plaintiffs’ Motion for Preliminary Injunction in this matter on March 20,

 5   2025 at 2:00 PM.

 6          Moving Defendants’ pro hac vice counsel, Sameer Nitanand Advani, will be in Washington,

 7   D.C., on firm business and will not be able to be present in California on March 20, 2025. However,

 8   Moving Defendants’ counsel, Laura Leigh Geist, will be appearing in person for the Hearing.

 9   Therefore, counsel respectfully request that Sameer Nitanand Advani be permitted to appear via

10   Zoom video conference at the Hearing on March 20, 2025. A proposed order granting this request

11   is submitted herewith.

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13   Dated: March 13, 2025                              Respectfully submitted,

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                                                        WILLKIE FARR & GALLAGHER LLP
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16                                                      By:    /s/ Laura Leigh Geist
                                                               Laura Leigh Geist
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                                                         Laura Leigh Geist (SBN 180826)
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22                                                       VICTORY CAPITAL MANAGEMENT INC.
                                                         and NECICF II GP, LLC
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      VICTORY CAPITAL MANAGEMENT INC. AND NECICF II GP, LLC’S ADMIN. MOTION FOR RELIEF TO
         APPEAR REMOTELY BY ZOOM AT HEARING ON MOTION FOR PRELIMINARY INJUNCTION
                                    Case No. 3:24-cv-7705
